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                EXHIBIT A
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 Roche Freedman LLP Brings Class
 Action Lawsuit Against DFINITY USA
 Research LLC for Engaging in Insider
 Trading and Other Securities
 Violations Resulting in Billions of
 Dollars in Unlawful Sales to Retail
 Investors

NEWS PROVIDED BY
Roche Freedman LLP 
Aug 11, 2021, 09:00 ET




 NEW YORK, Aug. 11, 2021 /PRNewswire/ -- Roche Freedman LLP filed a class action lawsuit
 yesterday on behalf of investors in the crypto-asset "ICP" against DFINITY USA Research LLC and its
 affiliate the DFINITY Foundation (collectively, "DFINITY"), as well as DFINITY CEO Dominic Williams,
 alleging that DFINITY engaged in insider trading, securities fraud, and the promotion and sale of
 unregistered securities when it created and launched its "Internet Computer Protocol" and issued
 ICP tokens to itself and other insiders on May 10, 2021.


 The lawsuit, brought in the U.S. District Court for the Northern District of California, alleges that
 shortly after issuing ICP tokens to itself and its insiders, DFINITY and its insiders began to sell
 massive quantities of these ICP tokens to the public, causing the price of ICP tokens to fall from a
 high of over $730 on May 10 to approximately $60 on August 9. According to the lawsuit, DFINITY
 and its insiders thus dumped massive amounts of ICP tokens on the open market, securing
 billions of dollars of profits for themselves and driving the price of ICP down.




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The lawsuit is thus   3:21-cv-06118-JD
                    brought               Document
                             on behalf of all persons8-1   Filed 08/30/21
                                                      or entities          Page 3ICP
                                                                  who purchased    of 4
                                                                                      tokens from
May 10, 2021, to the present. The action is captioned Daniel Valenti v. DFINITY USA Research LLC,
DFINITY Foundation, and Dominic Williams, Case No. 5:21-cv-06118 (N.D. Cal.).


In asserting violations of Sections 5, 12(a)(1), and 15 of the 1933 Securities Act and Sections 10(b),
20A, and 20(a) of the 1934 Securities Exchange Act, the lawsuit alleges that company executives,
including CEO Dominic Williams, failed to disclose that DFINITY and its insiders held ICP tokens
that were not locked up pursuant to vesting schedules like the tokens held by DFINITY's other
early investors. This failure to implement and disclose any transparent vesting plan was not only
contrary to industry norms for crypto-asset issuances, but also resulted in the fraudulent
concealment of material information from the investors who purchased ICP tokens from DFINITY
insiders beginning on May 10.


DFINITY USA Research LLC is a Delaware company headquartered in Palo Alto, California. The
DFINITY Foundation is a Switzerland-based not-for-profit organization with operations and
employees in Palo Alto and San Francisco, in Zurich, Switzerland, and in Tokyo, Japan.


For investors who purchased or sold ICP securities during the Class Period, you are a member of
this proposed Class and may be able to seek appointment as lead plaintiff, which is a court-
appointed representative for the Class, by complying with the relevant provisions for the Private
Securities Litigation Reform Act of 1995 (the "PSLRA"). See 15 U.S.C. § 78u-4(a)(2)(A)(i)-(iv). If you
wish to serve as lead plaintiff, you must move the Court no later than October 12, 2021. You need
not seek to become a lead plaintiff in order to share in any possible recovery. You may retain
counsel of your choice to represent you in this action.


For further inquiries regarding this matter, please contact Kyle Roche (kyle@rcfllp.com) at 646-
970-7509.


About Roche Freedman LLP


Founded in 2019, Roche Freedman LLP is a national law firm comprised of innovative and tech-
savvy attorneys with stellar credentials. With experience from some of the most prestigious
litigation firms in the country, RF's legal team has a successful and decades-long track record of
consistently achieving outstanding results in high-stakes and notable disputes on behalf of
sophisticated clients. RF's legal team has extensive experience litigating complex commercial, 
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                                                             behalf of bothPage 4 of 4and defendants
                                                                           plaintiffs
in a broad range of industries. RF couples a unique brand of creative thinking and technical
expertise with well-balanced aggressive advocacy to achieve impressive results in complex, high-
value, and class action matters. As the firm continues to grow, it has focused on building a diverse
attorney pool with cross-functional expertise.


Founding Partner Kyle W. Roche is a recognized thought leader in the cryptocurrency arena and
has published multiple articles on the intersection of cryptocurrency and law. He is a frequent
speaker and lecturer on the topic, having guest-lectured a course at the Northwestern Pritzker
School of Law and having served on the Keynote panel at Harvard Law School's Blockchain,
Fintech, & the Law conference. Founding partner Ted Normand is RF's most experienced litigator
and has both prosecuted and defended numerous complex cases under the federal securities
and antitrust laws and in national class actions.


The firm's attorneys are currently litigating numerous cryptocurrency cases against multi-national
defendants. RF has been appointed as lead counsel in the seminal cryptocurrency class actions,
Leibowitz et al. v. iFinex Inc. et al., Case No. 1:19-cv-09236 (S.D.N.Y.), Clifford et al. v. Tron
Foundation et al., Case No. 1:20-cv-02804 (S.D.N.Y.), Messieh & Lee v. HDR Global Trading Limited
& Arthur Hayes et al., Case No. 1:20-cv-03232 (S.D.N.Y.), Lee et al. v. Binance et al., Case No. 1:20-cv-
02803 (S.D.N.Y.), and Williams v. KuCoin et al., Case No. 20-cv-2806 (S.D.N.Y.).


SOURCE Roche Freedman LLP




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